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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 23-CV-61326-RS

 US BANK TRUST N.A,

        Plaintiff,

 v.

 JANICE ELLERY, et al.

       Defendants.
 _______________________________________/

                                   ORDER TO SHOW CAUSE

        This matter is before the Court upon a sua sponte examination of the record. Defendant

 filed an Amended Notice of Removal [DE 9] in this matter on November 15, 2023. Pursuant to

 Federal Rule of Civil Procedure 81(c)(2)(C), Defendant’s response to Plaintiff’s Complaint was

 therefore due on or before November 22, 2023. However, a review of the record indicates that

 Defendant has not responded to Plaintiff’s Complaint, nor has Defendant otherwise defended

 against the claim brought by Plaintiff. Accordingly, it is hereby,

        ORDERED that:

        1. Defendant shall file a response in this Court to Plaintiff’s Complaint on or before

            December 14, 2023.

        2. Any response to Defendant’s Notice of Removal is due in this Court on or before

            December 15, 2023.

        3. Failure to comply with this Order may result in the imposition of sanctions, including

            final dismissal of this matter, without further notice.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 30th day of November, 2023.
